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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                        Case No. 18-cv-80176

  IRA KLEIMAN,
  as personal representative of
  the estate of David Kleiman,

         Plaintiff,

  v.

  CRAIG WRIGHT,

        Defendant.
  ________________________________________/

                          DR. WRIGHT’S POSITION STATEMENT
                         ON THE STATUS OF EXHIBIT 1 TO D.E. 157

         In compliance with Judge Reinhart’s Order at D.E. 165, Dr. Wright respectfully requests

  that page 370 of his deposition transcript, which is attached as part of Exhibit 1 to D.E. 157, be

  redacted before public filing of the exhibit. The page is not relevant to plaintiffs’ motion and

  contains information related to his motion for a protective order, which was filed under seal at

  D.E. 156.

                                                    Respectfully submitted,

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                                                    By: s/ Andres Rivero
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                                                   AMANDA MCGOVERN
                                                   Florida Bar No. 964263
                                                   ZAHARAH R. MARKOE
                                                   Florida Bar No. 0504734


                                  CERTIFICATE OF SERVICE

         I certify that on May 6, 2019, I electronically filed this document with the Clerk of the
  Court using CM/ECF. I also certify that this document is being served today on all counsel of
  record either by transmission of Notices of Electronic Filing generated by CM/ECF or by U.S.
  Mail.


                                                       _ /s/Andres Rivero
                                                       ANDRES RIVERO




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